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                                 UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA, MIAMI DIVISION




                                                             ☐
RE: Sadiq Malik                                                                    CASE NUMBER: 23-18438-LMI

                      TRUSTEE'S NOTICE OF DEFICIENCY AND RECOMMENDATION
                        (If this case is dismissed, this deficiency is an objection to reinstate)

The Trustee reviewed this case and found the following deficiencies remain unresolved from the Trustee’s letter or
requirements under the Bankruptcy Code and Rules. The Trustee reserves the right to raise additional objections
UNTIL all documents are provided to the Trustee and reviewed for issues raised and additional documents needed.
See Court Notice of Commencement for additional information and Trustee’s website www.CH13miami.com for
forms and procedures.
As appropriate, all written responses or documents must be received through BKDOCS.US or filed with the Clerk by
5pm at least 15 days prior to the first confirmation hearing or agreed deadline if confirmation is continued. Pro Se
debtors may fax documents to 954-443-4452. Late documents may not be reviewed or considered, and this case may
be at risk of dismissal. The Trustee’s Office has a “Pre-call” date, THE THURSDAY PRIOR TO THE HEARING.
During this period, the Debtor’s or Creditor’s attorney must call and speak to the Trustee’s staff attorney unless they
agree to the Trustee’s recommendation. A final calendar will be published with any changes of this recommendation
the day before the hearing on the front page of the Trustee’s website.
     ***RECOMMENDATIONS ARE CHANGED UPON REVIEW OF DOCUMENTS NOT RECEIPT***

                                                                                    LAST REVIEWED: 11/2/2023

☐ Plan served                                                                       ☐ Objection to Exemption
If debtor’s counsel appears, confirms service, agrees to vesting and the recommendation on the record:
Debtor to file or provide written explanation and evidence at least 15 days prior to the first confirmation hearing:

            I Documents required prior to the Trustee conducting or concluding the meeting of creditors:
(Trustee reserves the right to recall meeting of creditors until all documents in this section are provided and reviewed):

☐ Tax returns:     ☐ Missing Schedule C and/or Part 1
☐ Corporate tax returns:
☒ Photo ID (color copy) - Updated with new address
☐ SS Card
☒ LF 90 ☐ LF 90 Attorney signature missing ☐ LF 90 Debtor signature missing
☒ LF 67
☐ LF 10
☒ 341 Written Questionnaire
☒ Bank Account Statements: ☐ 3 months pre-petition (ending on the date of the petition):
  #0840 (8/26-9/17/23 & 9/26-10/16/23)     #4769 (7/16-10/16/23)     #1195 (7/24-10/16/23)
  #3116 (7/16-10/16/23)
  From Bank Statements:
  ☐ Copy of check(s) and explanation/evidence of use over $999.99:
  ☒ Explanation of withdrawal/debit/transfer and evidence of use over $999.99: 0840 7/7 & 8/7 $2215
☐ Domestic Support Obligation form (complete with name, address, and phone number)
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                             II Plan issues to resolve prior to the confirmation hearing:

☐   Attorney fee itemization or Fee Application needed (see court guideline 6)
☒   2016(b), SOFA #16 and Plan do not match
☐   Motion in plan not filed: ☐ MMM ☐ Valuation ☐ Lien Avoidance Motion ☐ SLP Notice and/or Motion
☐   Plan does not fund properly:
☐   Amend Plan to include in other provisions: ☐ IVL (Miami) ☐100% ☐ Lawsuit ☐ Gambling ☐ MMM
☒   Plan does not disclose treatment of all Sch D, E or G creditors: IRS
☐   Creditor in Plan is not listed in Schedules or has not filed a POC:
☐   Creditor paid through the Plan has not filed a POC:
☐   Object or Conform to Proof of Claim:
    ☐ IRS ☐ Miami-Dade County ☐ Tax Certificate (DE# ) ☐ Dept of Revenue
☐   OTHER PLAN ISSUES:
☒   Ch 7 is $3220.51 may increase until all documents received and reviewed
☐   Good faith payment to unsecured creditors
☐   100% Plan issue with filed claims

                             III Documents required prior to the confirmation hearing:

☐ Missing Plan, Schedules, SOFA and CMI
☐ Attorney disclosure form (2016(b) not on docket
☐ FMV and payoff of Real Estate:
☐ Non-Homestead Info Sheet:
☐ FMV Carmax (Not online offer) or J.D. Power, Reg and payoff of vehicles:
☐ FMV and payoff of other: (jewelry, collection, firearm):
☐ 401 K/Retirement/Pension ☐ Annuity ☐ Education IRA ☐ Life Insurance Policy
☒ Wage deduction order or Motion to waive
Debtor has a business or self-employed:
  ☐ BDQ complete with selection(s) ☐ Profit/Loss ☐ Balance Sheet
  ☐ Business Bank statements and checks: ☐ 3 months pre-petition (ending on the date of the petition):

       From Bank Statements:
      ☐ Copy of check(s) and explanation/evidence of use over $999.99:
      ☐ Explanation of withdrawal/debit/transfer and evidence of use over $999.99:
☐   SOFA #27 details: When did business close? What happened to business s assets?
☒   Affidavit of support ☐ Affidavit of rent/lease
☒   LF 76 (Attorney Compliance with Claims Review) Bar Date: 12/26/23
☒   Other: Amd Sch B to disclose Bank acct #1195




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                         Legal issues to resolve prior to the confirmation hearing (reviewed at 341):

☐ Income understated per debtor’s stubs $ _______ taxes $ _______ co-debtor stubs $ _______ taxes $ _______
☐ Proof of household size (government ID w/ address) and income of all adults disclosed on Sch J and CMI
☐ Spouse’s pay advices □ Spouse's income not included on Schedule I or CMI
☐ Schedule J Expenses: □ Provide Proof of line ________________ □ Objectionable Line ________________
☐ Object to Schedule J Expenses: but 100% plan or over median
☐ Expenses: documentation/calculation: CMI Form B122C-1 line ______________________________________
  CMI Form B122C-2 line
☐ Plan does not pay debtor's calculation of disposable income CMI/DI __________ x 60 = $____________
☐ Pending income/expenses issues ☐ Trustee believes D/I is understated (estimated D/I $____________)
☐ Feasibility or ☐ plan payments reduce month ______ or ☐ balloon payment
☐ Plan does not conform to Applicable Commitment Period < 36 months < 60 months
☐ Info on transfer SOFA _________ undisclosed__________ ☐ provide Tolling Agreement(s)

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☐ Reserves right to Recall for additional reasons
☐ If 100% language is removed, Debtor to provide documents/resolve issues on all prior deficiencies
contemporaneously with filing of amended plan.
☐ Documents not provided at least 7 days prior to 341 meeting; additional proof and information may be
necessary.




I hereby certify that a true and correct copy of the foregoing was served through ECF on the debtor’s attorney or by U.S. First
Class pre-paid Mail on the pro se debtor on the same day filed with the Court.

                                                                                         Submitted by: NANCY K. NEIDICH, ESQ
                                                                                         STANDING CHAPTER 13 TRUSTEE
                                                                                         P.O. BOX 279806, MIRAMAR, FL 33027
                                                                                         (954) 443-4402




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